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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Natasha Nunn−Paige, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:19−cv−02352
                                                       Honorable Virginia M. Kendall
United States of America, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 14, 2019:


        MINUTE entry before the Honorable Virginia M. Kendall. Briefing schedule set
as to Defendant's Motion to Dismiss for Failure to State a Claim [16]. Response due by
5/28/2019. Reply due by 6/4/2019. Status hearing set for 7/23/2019 at 9:00 AM. Initial
Status hearing set for 5/15/2019 at 9:00 AM stands. Mailed notice(lk, )




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